           Case 1:17-vv-01415-UNJ Document 98 Filed 11/22/21 Page 1 of 7




         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 17-1415V
                                     Filed: October 28, 2021
                                         UNPUBLISHED


    SAMUEL KAZERY,

                         Petitioner,
    v.                                                        Joint Stipulation on Damages;
                                                              Influenza (Flu) Vaccine; Shoulder
    SECRETARY OF HEALTH AND                                   Injury Related to Vaccine
    HUMAN SERVICES,                                           Administration (SIRVA)

                        Respondent.


Theodore J. Hong, Maglio Christopher & Toale, Seattle, WA, for petitioner.
Ronalda E. Kosh, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION ON JOINT STIPULATION 1

       On October 3, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a Shoulder Injury Related to Vaccine
Administration (“SIRVA”). Petition at 1; Stipulation, filed October 26, 2021, at ¶¶ 4.
Petitioner further alleges he experienced the residual effects of his alleged injury for
more than six months, that there has been no prior award or settlement of a civil action
for damages as a result of his condition, and that his vaccine was administered in the
United States. Petition at 3; Stipulation at ¶¶ 3-5. “Respondent denies that petitioner
sustained a SIRVA Table injury; denies that the flu vaccine caused petitioner’s alleged
shoulder injury, or any other injury; and denies that his current condition is a sequelae of
a vaccine-related injury.” Stipulation at ¶ 6.

       Nevertheless, on October 26, 2021, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation

1 Because this decision contains a reasoned explanation for the special master’s action in this case, it will
be posted on the United States Court of Federal Claims’ website in accordance with the E-Government
Act of 2002. See 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information the disclosure of which would constitute an unwarranted invasion of privacy.
If the special master, upon review, agrees that the identified material fits within this definition, it will be
redacted from public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:17-vv-01415-UNJ Document 98 Filed 11/22/21 Page 2 of 7



reasonable and adopt it as the decision of the Court in awarding damages, on the terms
set forth therein.

     Pursuant to the terms stated in the attached stipulation, I award the following
compensation:

        A lump sum of $95,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment in accordance with this decision. 3


IT IS SO ORDERED.

                                          s/Daniel T. Horner
                                          Daniel T. Horner
                                          Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

                                                      2
Case 1:17-vv-01415-UNJ Document 98 Filed 11/22/21 Page 3 of 7
Case 1:17-vv-01415-UNJ Document 98 Filed 11/22/21 Page 4 of 7
Case 1:17-vv-01415-UNJ Document 98 Filed 11/22/21 Page 5 of 7
Case 1:17-vv-01415-UNJ Document 98 Filed 11/22/21 Page 6 of 7
Case 1:17-vv-01415-UNJ Document 98 Filed 11/22/21 Page 7 of 7
